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 1   MORRISON & FOERSTER LLP
     MICHAEL A. JACOBS (Bar No. 111664)
 2   mjacobs@mofo.com
     MARC DAVID PETERS (Bar No. 211725)
 3   mdpeters@mofo.com
     DANIEL P. MUINO (Bar No. 209624)
 4   dmuino@mofo.com
     755 Page Mill Road
 5   Palo Alto, CA 94304-1018
     Telephone: (650) 813-5600 / Facsimile: (650) 494-0792
 6
     BOIES, SCHILLER & FLEXNER LLP
 7   DAVID BOIES (Admitted Pro Hac Vice)
     dboies@bsfllp.com
 8   333 Main Street
     Armonk, NY 10504
 9   Telephone: (914) 749-8200 / Facsimile: (914) 749-8300
     STEVEN C. HOLTZMAN (Bar No. 144177)
10   sholtzman@bsfllp.com
     1999 Harrison St., Suite 900
11   Oakland, CA 94612
     Telephone: (510) 874-1000 / Facsimile: (510) 874-1460
12
     ORACLE CORPORATION
13   DORIAN DALEY (Bar No. 129049)
     dorian.daley@oracle.com
14   DEBORAH K. MILLER (Bar No. 95527)
     deborah.miller@oracle.com
15   MATTHEW M. SARBORARIA (Bar No. 211600)
     matthew.sarboraria@oracle.com
16   500 Oracle Parkway
     Redwood City, CA 94065
17   Telephone: (650) 506-5200 / Facsimile: (650) 506-7114
18   Attorneys for Plaintiff
     ORACLE AMERICA, INC.
19

20                                  UNITED STATES DISTRICT COURT

21                             NORTHERN DISTRICT OF CALIFORNIA

22                                     SAN FRANCISCO DIVISION

23   ORACLE AMERICA, INC.                                Case No. CV 10-03561 WHA
24                     Plaintiff,                        ORACLE’S RESPONSE TO
                                                         TENTATIVE CLAIM
25          v.                                           CONSTRUCTION ORDER AND
                                                         REQUEST FOR CRITIQUE
26   GOOGLE INC.
                                                         Dept.: Courtroom 9, 19th Floor
27                     Defendant.                        Judge: Honorable William H. Alsup
28
     ORACLE’S RESPONSE TO TENTATIVE CLAIM CONSTRUCTION ORDER AND REQUEST FOR CRITIQUE
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 1          Pursuant to the Court’s April 28, 2011 Tentative Claim Construction Order and Request
 2   for Critique, Oracle responds to the Court’s tentative claim constructions.
 3          I.      INTRINSIC EVIDENCE SUPPORTS THE COURT’S TENTATIVE
                    CONSTRUCTIONS FOR MOST TERMS
 4
            Oracle submits that the intrinsic evidence supports the Court’s tentative claim
 5
     constructions for:
 6
            “reduced class file”: e.g., '702, Claim 1 (“removing said duplicated elements from said
 7
                    plurality of class files to obtain a plurality of reduced class files”);
 8
            “the play executing step”: e.g., '520, 2:66 (“simulates executing (‘play executes’)”);
 9
            “intermediate form code” and “intermediate form object code”: e.g., '104, 2:27-29
10
                    (“A method and apparatus for generating executable code and resolving data
11
                    references in the generated code is disclosed.”); and
12
            “resolve” and “resolving”: '104, 2:44-47 (“resolves a symbolic reference and rewrites
13
                    the symbolic reference into a numeric reference”).
14
            Oracle agrees that “computer readable media” and variants of the phrase require
15
     individualized attention to the intrinsic evidence and prosecution history of each patent from
16
     which they hail. See Tentative Claim-Construction Order at 24 (Dkt. 128).
17
            II.     “DYNAMIC RESOLUTION” IS NOT INHERENT IN “SYMBOLIC
18                  REFERENCE”
19          The Court’s tentative construction of “symbolic reference” is “a reference that identifies
20   data by a name other than the numeric memory location of the data, and that is resolved
21   dynamically rather than statically.” The first portion follows directly from the intrinsic evidence.
22   The Court identified the portion of the '104 specification that distinguished between symbolic
23   (name-based) references and numeric (location-based) references: “Instead, a symbolic reference
24   identified data by a ‘symbolic name’ (col. 1:64-67).” Tentative Claim-Construction Order at 21
25   (Dkt. 128.)
26          Oracle submits that the requirement that a “symbolic reference” also be “resolved
27   dynamically rather than statically” is not supported by the intrinsic evidence. Symbolic
28   references need not be resolved dynamically. The '104 patent discloses that in a compiled
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 1   programming language, “[r]eferences to data in the generated code are resolved prior to execution
 2   based on the layout of the data objects that the program deals with, thereby, allowing the
 3   executable code to reference data by their locations.” '104, 1:29-32. Disclosed examples of data
 4   references are x, y, and name, which the compiler resolves to location-based references. '104,
 5   1:37-40 (“Thus, an instruction that accesses or fetches y, such as the Load instruction 14
 6   illustrated in FIG. 1, is resolved to reference the variable y by the assigned slot 2 . . . .”), 1:51-54
 7   (“[I]f the point data object had a new field added at the beginning called name, which contains the
 8   name of the point, then the variables x and y could be reassigned to slots 2 and 3.”). The only
 9   constraint the '104 claims and specification impose on “symbolic reference” (beyond the ordinary
10   meaning of the term in the art) is that it be resolved into a numeric reference. See '104 Abstract;
11   2:38-51; 5:10-17 & Fig. 7; 5:32-41 & Fig. 8; 5:59-6:14; 6:31-62; Claims 11-41.
12           The '104 specification thus discloses that it is not inherent in “symbolic reference” that a
13   symbolic reference is resolved dynamically rather than statically. The addition of “resolved
14   dynamically rather than statically” to the construction serves to import a word that is used to
15   describe an exemplary routine that performs the resolution of symbolic references (the “dynamic
16   field reference routine”) but is not itself part of the meaning of “symbolic reference.” See, e.g.,
17   '104, Claim 24 (“when it is determined that the bytecode of the program contains a symbolic data
18   reference, invoking a dynamic field reference routine to resolve the symbolic data reference”).
19           Oracle remains concerned that the meaning of “dynamic” in the context of the '104 patent
20   has not been fleshed out and may lead to a “construction of the construction” problem. As
21   Google’s dictionary indicates, “dynamic” is a word with many nuanced meanings that depend on
22   its use in context. See Supplemental Declaration of Truman Fenton, Ex. P (Dkt. 103).
23           Oracle further suggests that deciding upon any particular gloss on “symbolic reference” is
24   better done in the context of the infringement or validity issues, rather than in the abstract.
25   Google’s programmers wrote that Android “converts symbolic references into pointers,” using
26   the same language that the patent does. If Google aims to slip the noose of its own creation by
27   arguing that its “symbolic reference” is not the patent’s “symbolic reference,” it is better for the
28   Court to have an understanding of the impact that the inclusion of “resolved dynamically rather
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 1   than statically” may have on Google’s noninfringement arguments when the Court makes its
 2   claim construction decision.
 3          III.    CONCLUSION
 4          The Court should adopt its tentative claim constructions for “reduced class file”; “the play
 5   executing step”; “intermediate form code” and “intermediate form object code”; and “resolve”
 6   and “resolving.” Oracle requests that the Court remove “and that is resolved dynamically rather
 7   than statically” from its tentative construction of “symbolic reference.”
 8

 9          Respectfully submitted,
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     Dated: May 6, 2011                            MICHAEL A. JACOBS
11                                                 MARC DAVID PETERS
                                                   DANIEL P. MUINO
12                                                 MORRISON & FOERSTER LLP
13
                                                   By: /s/ Marc David Peters
14
                                                          Attorneys for Plaintiff
15                                                        ORACLE AMERICA, INC.
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